    Case 1:21-cr-00179-JTN ECF No. 28, PageID.70 Filed 11/30/21 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN


  UNITED STATES OF AMERICA,

          Plaintiff,
                                                                      Hon. Janet T. Neff
  v.
                                                                      Case No. 1:21-cr-179
  DONNA MARIE ROYAL,

          Defendant.
  ________________________________

                                             ORDER

       Having received the psychological evaluation and competency report submitted by Dr.

Candyce Shields (ECF No. 24), the Court held a hearing on the issue of Defendant Donna Marie

Royal’s competency. The parties stipulated, and the Court found by a preponderance of the

evidence pursuant to 18 U.S.C. § 4241, that Defendant is not competent to stand trial and to assist

meaningfully in the defense of this matter. The government made an oral motion to commit

Defendant to the custody of the Attorney General to attempt to restore competency. The

government also moved for further evaluation of Defendant’s insanity and mental responsibility

at the time of the offense pursuant to 18 U.S.C. § 4242(a). As such, as required by statute, the

Court shall commit Defendant to the custody of the Attorney General for treatment to attempt to

restore competency and a psychiatric evaluation on the issue of insanity at the time of the offense,

but will allow self-surrender as set out below.

       IT IS HEREBY ORDERED that Defendant is to self-surrender to the Bureau of Prisons as

directed to be transferred to a federal medical center for further evaluation and treatment for

restoration of competency pursuant to 18 U.S.C. § 4241(d) for a period not to exceed 120 days.
    Case 1:21-cr-00179-JTN ECF No. 28, PageID.71 Filed 11/30/21 Page 2 of 2




       IT IS FURTHER ORDERED that Defendant is to report for in-patient treatment at either

Pine Rest or Spectrum Health Lakeland within three days of entry of this Order. Defendant is to

be housed in one of those two facilities (or an appropriate mental health facility approved by the

Court in advance) to receive psychological treatment pending notification to report to the Bureau

of Prisons to a designated federal medical center (or to the U.S. Marshal’s Service located in the

Gerald R. Ford Federal Building for transportation).

       IT IS FURTHER ORDERED that defense counsel shall update the Court in advance of

any contemplated release or transfer should the mental health facility in which Defendant is housed

seek to release her or transfer her to a different facility. This order does not authorize Defendant’s

release to the community from in-patient treatment.

       IT IS FURTHER ORDERED that the report of the Bureau of Prisons evaluator shall be

submitted to the Court and will be filed with access restricted to the Court and the parties.

       IT IS FURTHER ORDERED that, upon return of the report, a continued competency

hearing shall be promptly scheduled by the Court’s case manager.

       IT IS FURTHER ORDERED that the professional preparing the evaluation shall make

him/herself available for testimony at the competency hearing.

       FINALLY, IT IS ORDERED that Pretrial Services is authorized to release any bond

report(s) regarding Defendant to the Federal Bureau of Prisons.

Dated: November 30, 2021                                       /s/ Sally J. Berens
                                                              SALLY J. BERENS
                                                              U.S. Magistrate Judge




                                                  2
